                        JOURNAL ENTRY AND OPINION
On June 25, 2001, the relator, Eric L. Aniton, commenced this procedendo action against the respondent, Judge Ronald Suster, to compel the judge to issue a ruling with regard to a petition for post-conviction relief that was filed in State v. Aniton, Cuyahoga County Court of Common Pleas Case No. CR-226872. On August 1, 2001, the respondent, through the Cuyahoga County Prosecutor, filed an answer and a motion to dismiss, or in the alternative, a motion for summary judgment.
Attached to the respondent's motion for summary judgment is a copy of the findings of fact and conclusions of law pertaining to the petition for the post-conviction relief which was journalized on August 1, 2001. Thus, the relator's request for a writ of procedendo is moot. State ex rel. Gantt v. Coleman (1983), 6 Ohio St.3d 5,  450 N.E.2d 1163; State ex rel. Jerningham v. Cuyahoga County Court of Common Pleas (1996),74 Ohio St.3d 278, 658 N.E.2d 723.
Accordingly, we grant the respondent's motion for summary judgment. Respondent to bear costs. It is further ordered that the clerk shall serve upon all parties notice of this judgment and date of entry pursuant to Civ.R. 58(B).
Writ denied.
MICHAEL J. CORRIGAN, P.J., and FRANK D. CELEBREZZE, JR., J., CONCUR.